Case 2:19-cv-05030-JDW Document 145 Filed 08/25/21 Page 1 of 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVNIA

 

LISA BARBOUNIS,

)
)
Plaintiff, Counterclaim Defendant, )
) C.A.No. 2:19-cv-05030 JDW
v. )
MIDDLE EAST FORUM, )
DANIEL PIPES (individually), and )
GREGG ROMAN (individually), )
)
)

Defendants, Counterclaim Plaintiffs.

 

ORDER

AND NOW, on this 25th day of _ August , 2021, it is hereby
ORDERED that the Motion of Defendants for the admission pro hac vice of Margaret M.

DiBianca, Esq., to practice in this Court for the above-captioned matter pursuant to Local Rule of

Civil Procedure 83.5.2(b) is GRANTED.

BY THE COURT:

/s/ Joshua D. Wolson

 

Joshua D. Wolson, United States District Judge
